     Case 2:09-cr-00015-EFS   ECF No. 1548   filed 01/26/10   PageID.6935 Page 1 of 3




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6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8
                                               NO. CR-09-0015-EFS-2
                       Plaintiff,
9
                                               PRELIMINARY ORDER OF
                  v.                           FORFEITURE
10

11    JONATHAN TRI DUC NGUYEN (2),

12                     Defendant.
13

14
          Pursuant to Federal Rule of Criminal Procedure 32.2(b), IT IS HEREBY
15
     ORDERED: Defendant shall forfeit the assets, as outlined below, to the
16
     United States pursuant to 21 U.S.C. § 853, as property constituting or
17
     derived from proceeds obtained, directly or indirectly, as a result of
18
     the violations to which Defendant pled guilty, and as property used, or
19

20   intended to be used, in any manner or part, to commit, or to facilitate

21   the commission of those violations, including:

22        10664 Rainier Avenue South, Seattle, Washington:

23               Real property in the County of King, State of Washington,
24               described as follows
25

26


     ORDER ~ 1
     Case 2:09-cr-00015-EFS   ECF No. 1548   filed 01/26/10   PageID.6936 Page 2 of 3




1                A strip of land 40 feet in width lying between the Northerly
2
                 right of way of Pacific Highway and the inner harbor line of
3
                 Lake Washington, being adjacent parallel and Westerly of a line
4
                 described as follows
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6                BEGINNING at a point on the East-West center line of Section

7                1, Township 23 North, Range 4 East, W M, being the South

8                boundary of the City of Seattle, 304.38 feet South 86E54'24"

9                East of the center of Section 1,
10               Thence South 51E14'45" East a distance of 1324.28 feet,
11               Thence on the arc of a curve to the right having a radius of
12               5,772.15 feet, a distance of 35.96 feet to the POINT OF
13
                 BEGINNING of said line,
14
                 Thence North 38E45'15" East of distance of 200 feet, more or
15
                 less, to the inner harbor line of Lake Washington,
16
                 EXCEPT a strip of land formerly used by Seattle, Renton and
17
                 Southern railroad right of way,
18
                 TOGETHER WITH that certain property as conveyed by Recording
19
                 No. 8906240738
20

21               (Being known as Lot 15, Block 2, EBAWOOD ADDITION, according

22               to the unrecorded plat thereof)

23               Tax Parcel Number 2220400160

24               Together with all appurtenances, fixtures, attachments thereto

25               and thereupon.
26


     ORDER ~ 2
     Case 2:09-cr-00015-EFS     ECF No. 1548    filed 01/26/10   PageID.6937 Page 3 of 3




1                 Subject to covenants, conditions, restrictions, reservations,
2                 easements and agreements of record, if any.
3          IT IS SO ORDERED. The District Court Executive is directed to enter
4
     this Order and to provide copies to all counsel.
5                              26th
           DATED this                      day of January 2010.
6

7                                      s/Edward F. Shea
                                        EDWARD F. SHEA
8                                United States District Judge
9
     Q:\Criminal\2009\15.2.prelim.forfeit.wpd
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     ORDER ~ 3
